                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW MEXICO


In re:
MARILYN B. CAVANAUGH                                        Under Chapter 13
                                                            Case No. 20-10485 JA
                      Debtor(s).

                  CHAPTER 13 TRUSTEE’S OBJECTION
     TO CONFIRMATION OF DEBTOR’S FIRST AMENDED CHAPTER 13 PLAN

       COMES NOW, Tiffany M. Cornejo, Chapter 13 Standing Trustee and objects to the
confirmation of Debtor’s First Amended Chapter 13 Plan. In support of thereof, Trustee states as
follows:

       1.      Completion: Debtor’s plan payments are insufficient to pay all allowed claims as
               set forth in the Chapter 13 Plan. Debtor must provide a plan payment sufficient to
               pay all claims as proposed by the Plan.

       2.      Leave to Amend: The chapter 13 trustee reserves the right to interpose
               additional objections upon the filing of any amendments to the debtor's plan,
               schedules and statement of affairs upon the debtor's providing the documentation
               requested above and upon the debtor's providing documentation verifying income
               and expenses and proof of insurance.

       WHEREFORE, the Chapter 13 Trustee respectfully requests that the Court deny
confirmation of the Debtors’ plan and for such other and further relief as the Court deems just
and proper.

                                                   Respectfully submitted,

                                                   /s/Tiffany M. Cornejo
                                                   TIFFANY M. CORNEJO, Trustee
                                                   Chapter 13 Standing Trustee
                                                   625 Silver SW, Ste. 350
                                                   Albuquerque, NM 87102
                                                   Telephone: (505) 243-1335
                                                   Facsimile: (505) 247-2709
                                                   Email: orders@ch13nm.com

                                   CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was mailed to the following interested parties who have not been electronically notified
this 5th day of March 2021 with the correct postage prepaid and deposited in the U.S. Mail.



Case 20-10485-j13       Doc 67      Filed 03/05/21    Entered 03/05/21 07:22:03 Page 1 of 2
Marilyn Cavanaugh
21 Castle Rock Rd. SE
Rio Rancho, NM 87124

                                         /s/JoAnne Encinias




                                             2
Case 20-10485-j13       Doc 67   Filed 03/05/21   Entered 03/05/21 07:22:03 Page 2 of 2
